       Case 2:21-cv-00691-DLR Document 65 Filed 03/18/22 Page 1 of 4



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 6

 7                      IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ARIZONA
 8

 9
      Erik Johnson, an individual,               No. 2:21-cv-00691-DLR
10
                          Plaintiff,
11    v.                                         STIPULATED MOTION TO EXTEND
12                                               DEADLINE FOR COMPLETION OF
      Proctorio, Inc., a Delaware corporation,
                           Defendant.            DEPOSITIONS & FACT DISCOVERY
13

14

15    Proctorio, Inc., a Delaware corporation,
16                        Counterclaimant,

17    v.
18
      Erik Johnson, an individual,
19                       Counterdefendant.
20

21          The parties, by and through undersigned counsel, submit this Stipulated Motion
22   to Extend the Deadline for Completion of Fact Discovery. The current deadline for
23
     completion of fact discovery is April 8, 2022. (Dkt. #46). As the Court is aware from
24
     the notices filed on the docket, discovery in this case has been progressing. As part of
25

26   discovery, Proctorio, Inc. intends to depose Erik Johnson and Jennifer Johnson, and Mr.
27   Johnson intends to depose Michael Olsen, John DeVoy, Punisa Zdravkovic, and
28
                                                 1
       Case 2:21-cv-00691-DLR Document 65 Filed 03/18/22 Page 2 of 4



 1   Proctorio, Inc. Mr. Olsen will be the designee for the Proctorio deposition. Erik Johnson
 2
     will be deposed on March 25, 2022 in Chicago, Illinois. Jennifer Johnson will be deposed
 3
     on March 28, 2022 in Chicago, Illinois.
 4

 5          Due to prior commitments and scheduling conflicts involving counsel and the

 6   deponents Michael Olsen, John DeVoy, and Punisa Zdravkovic – one of whom is located
 7
     in Serbia and has been hospitalized with severe COVID-19 – these depositions cannot
 8
     occur before the deposition deadline in the Schedule Order of April 3, 2022. (Dkt #46).
 9
10          Accordingly, the parties have agreed to jointly request that the Court further

11   amend the Scheduling Order so as to permit the parties to complete the remaining witness
12
     depositions according to the following agreed schedule:
13
            John DeVoy                                April 7, 2022
14

15          Michael Olsen                             April 11, 2022

16          Punisa Zdravkovic                         April 13, 2022
17
            Neither party presently anticipates any further request to extend the deadlines for
18
     completion of fact discovery or any other deadline, absent some exigent or unforeseen
19

20   circumstance.

21          Based on the foregoing, the parties respectfully ask the Court to enter an Amended
22
     Scheduling Order extending the deadline for the completion of fact discovery, including
23
     the completion of depositions, to April 15, 2022. The request is made in good faith and
24

25   not for the purpose of interposing any unnecessary delay in these proceedings. A

26   proposed form of Order is attached as Exhibit A.
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                                                  2
       Case 2:21-cv-00691-DLR Document 65 Filed 03/18/22 Page 3 of 4



 1   RESPECTFULLY SUBMITTED this 18th day of March, 2022.
 2

 3   Electronic Frontier Foundation         Crowell & Moring LLP
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       Case 2:21-cv-00691-DLR Document 65 Filed 03/18/22 Page 4 of 4



 1                                 CERTIFICATE OF SERVICE
 2
            I hereby certify that on March 18, 2022, I caused this document to be
 3
     electronically filed using the District of Arizona’s CM/ECF system, which sends
 4

 5
     electronic notices of such filing to all parties of record.

 6                                                       By: /s/ Justin D. Kingsolver
                                                                Justin D. Kingsolver
 7
                                                                Attorney for Proctorio, Inc.
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